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                   EXHIBIT A
Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6243 Page 2 of 31
                                                                                                                          Inspiring Networks B.V.


        Znspiring  N          e   t      w                          r          k           s
                                                                                                                          Fossielenerf 90
                                                                                                                          6413 MA Heerlen

                                                                                                                          wwwinspiringnetworks.com
                                                                                                                          info@inspiringnetworks.com


Invoice #67
Invoice Date: 26/03/2013

Due Date; 09/04/2013



Invoiced To
ADCONION DIRECT THE DIGITAL DISTRIBUTION PLATFORM
ATTN. Justin Barredo
9444 Waples Street Suite #350
San Diego, CA 92121
United States



                                               Description                                                                                           Total
196.246.0.0/16 lmonth and 2 servers                                                                                                             $50000.OOUSD


                                                                                                                                 Sub Total      $50000.OOUSD
                                                                                                                                    Credit        $0.OOUSD
                                                                                                                                     Total      $50000.O0USD



 Transactions

     Transaction Date                        Gateway                                                  Transaction ID                               Amount
                                                     No Related Transactions Found
                                                                                                                                  Balance       $50000.00USD




                                        KvK nr . 55810969                                    NL851869221801
             Bank: Rabobank           Rek.nr.: 15.17.14.525                -         IBAN: NL07RA6O0151714525                            Bic: RABONL2U
                                       On all our deliveries nor lerms ardl condliions apply which are .avoiable an our weenie




                                                                                                                                                  AMOBEE1031993
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                   EXHIBIT B
Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6245 Page 4 of 31
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                   EXHIBIT C
Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6247 Page 6 of 31
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                   EXHIBIT D
Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6249 Page 8 of 31
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                   EXHIBIT E
Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6251 Page 10 of 31
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                    EXHIBIT F
            Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6255 Page 14 of 31
                                                                         - 1 of 2 -
FD-302 (Rev. 5-8-10)
                                                             UNCLASSIFIED//FOUO
                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       04/29/2022



        On 4/19/2022, Peter Holden was telephonically interviewed. Present for the
        interview was Holden’s attorney, Mark Adams, as well as FBI Special Agents
        Charles Chabalko, Assistant United States Attorneys Melanie Pierson, AUSA
        Sabrina Feve, and AUSA Candy Heath. Holden provided the following
        information:

        In October 2010, Holden started Hostwinds and originally operated the
        business from his home. In 2012, he rented his first office space on the
        10th floor located in a building at 9 E 4th Street in Tulsa, Oklahoma. The
        10th floor office had no heat or AC, and soon after, he moved the business
        to the 3rd floor. In 2016, Holden moved Hostwinds to Seattle and in 2017 or
        2018, he closed the Tulsa office.

        Holden advised that he knew Daniel Dye prior to doing business with Adconian
        Direct (ADR) and that Dye referred other clients to Hostwinds. Holden never
        met Dye in person.

        When asked how he was introduced to ADR, Holden stated that ADR first
        approached him and he was unsure how they originally found Hostwinds. Holden
        primarily dealt with Mark Manoogian and, on occasion, with Abdul Mohammed.
        Holden never met anyone from ADR in person and communicated with ADR by
        telephone, email and/or Skype Messenger.

        Holden stated that ADR used both his Internet Protocol addresses (IP) as
        well as third party IPs to send email. This was also one of the first times
        Holden ever announced other people’s IPs. When asked how he learned the
        process of using Letter of Authorization (LOA) to announce other IPs, Holden
        stated that a friend who worked at another data center explained the process
        to him. Holden did not do anything to verify the LOA or the netblock he was
        announcing. Holden believed that this verification process was the
        responsibility of his upstream provider.

        Holden recalled receiving an email from his upstream provider, CoreXchange,
        regarding an AFRINIC netblock being used by Adconian as being possibly
        hijacked. Holden forwarded this email to ADR and does not recall receiving


                                                                UNCLASSIFIED//FOUO

   Investigation on    04/19/2022           at   San Diego, California, United States (In Person)

   File #   288A-SD-4318838                                                                                                  Date drafted    04/28/2022

   by   Charles W. Chabalko IV
  This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency; it and its contents are not
  to be distributed outside your agency.

                                                                                                                                       ADCONION-DISC64-00249
FD-302a (Rev.Case
              5-8-10)   3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6256 Page 15 of 31

                                              UNCLASSIFIED//FOUO
          288A-SD-4318838
Continuation of FD-302 of   (U) Interview of Peter Holden            , On   04/19/2022   , Page   2 of 2




          any response.




                                              UNCLASSIFIED//FOUO
                                                                                     ADCONION-DISC64-00250
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                   EXHIBIT G
     Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6258 Page 17 of 31
Message
From:          Info - Orbit-Diensten [info@orbitdiensten.com]
Sent:          5/13/2013 4:05:46 AM
To:            Justin Barredo
Subject:       rev
Attachments:   image001.gif



Hi Justin,



Commented below.



Thanks,




mai kel



Van: Justin Barredo [mailto:
verzonden: vrijdag 10 mei 2013 18:30
Aan: info@inspiringnetworks.com
onderwerp: Blackstar IP's



Hi Mai kel ,




This is the info I've received from blackstar. Can you go over it and let me
know what you can confirm from your side?



1/10 - Details: Invoice #32 server and /16 as agreed for 110k usd per 2
months. 30k usd will be paid up front. Prefix will be announced asap (upon
release from afrinic) ***they had noted 196.190.0.0/16 but then followed up
with an email that it was supposed to be 196.246.0.0/16

wire was sent for 39,225.00 usd on 1/10.



1/17 - $70,775.00 was sent for the balance on Invoice #32



1/17 - Details: invioce #33 Rental of 196.194.0.0/16 Payments in 2 parts,
1st payment today 16-01-2013 of 60k usd 2nd payment on 01-02-2013 of 32k
usd. Wire sent on 1/17 for $60,000.00



2/4 — Wire sent for the Balance on Invoice #33 in the amount of $32,000.00



2/20 - Details: Invoice #37 5.183.0.0/17 for 2 months wire was sent in the
amount of $60,000.00




                                                                               AMOBEE1028025
    Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6259 Page 18 of 31
2/27 - Details Invoice #40 /16 for 2 months 110k usd /22 for 2 months 2k.
Renewal for 5k after the first 2 months. The subnet for the /16 was not
noted on the invoice. wire was sent in the amount of $112,000.00.



                         Above all correct so far



The 2.59/16 was given on Tuesday 12 march. According to them they only
mailed a few days on them, well I don't know how that happened, but im sure
I give the server and dns details to them on the 12th of march. I still have
a few rDNS mails from ripe about when they got reversed.



About the spamhaus listing or whatever spamhaus mentions on the SBL itself,
I don't care because some of the info goes back t❑ 2011 or even before that,
so it's not accurate.. and almost every SBL gets blocked by precaution or
whatever spamhaus tells. But the "last" listing caused me to turn it back to
ripe L I can't do anything about that.




The 2.59.0.0/16 was listed on 4/15 and we only had a few days of mailing on
them. In the listing it states the listing was made based off the
announcement or acquisition by E-Rent LLC. Spamhaus listed it based on the
LLC not from any abuse on our part. This block 5.182.0.0/16 was sbl'd upon
arrival. You guys had it just prior to us and the listed the whole
5.180.0.0/16 block again based of the LLC [-Rent. Spamhaus again noted it
as a precautionary block. I completely understand when the SBL results from
us mailing but these were not our fault rather the way they were set up by
the provider that caused the listing. we paid them a lot for money for in
march and because of the SBLs due to the E-Rent LLC being set for the swip.



Thanks!



Justin Barred()
Business operations

 ADCONION DIRECT THE DIGITAL DISTRIBUTION PLATFORM
Phone:                 I Fax: +1 858 638 1717
9444 waples street Suite #350 I San Diego, CA 92121 I USA

                                               www.adconiondirect.com/>
www.adconiondirect.com




Geen virus gevonden in dit bericht.
Gecontroleerd door AVG - www.avg.com
Versie: 2013.0.3272 / virusdatabase: 3162/6289 - datum van uitgifte:
05/01/13
Interne virusdatabase is verouderd.




                                                                               AMOBEE1028026
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                   EXHIBIT H
Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6261 Page 20 of 31
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Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6267 Page 26 of 31




                     EXHIBIT I
        Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6268 Page 27 of 31
Message
From:         Allison Hall
Sent:         4/15/2013 3:53:52 PM
To:           Phi Duong                               ; Jake Bychak                                ]; Sasha Treviso


CC:           AD SD Systems [sdsystems@adconiondirect.com]; AD SD Operations [sdoperations@adconiondirect.conn]
Subject:      RE: 196.246.0.0/16 SBL



Thanks for letting us know, Phi!



Allison Hall I sr. Marketing Manager

Phone:

 <mai lto                                  >



From: Phi Duong
sent: Monday, April 15, 2013 3:53 PM
To: Allison Hall; Jake Bychak; Sasha Trevis❑
Cc: AD SD Systems; AD SD Operations
subject: RE: 196.246.0.0/16 SBL



Team:



196.246.0.0/16 have been archived in IPM



Phi Duong I Linux Systems Administrator

Phone: +1 202 6446 I Mobile:

                                                                           0d>



From: Allison Hall
sent: Monday, April 15, 2013 1:12 PM
To: Jake Bychak; sasha Treviso
Cc: AD SD Systems; AD SD Operations
subject: RE: 196.246.0.0/16 SBL



Hi Jake,



That's too bad. Thanks for letting us know.         Please keep us posted if
you're able to remove the SBL.



Thanks!



Allison Hall I Sr. Marketing Manager

Phone:




                                                                                                       AMOBEE1020710
    Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6269 Page 28 of 31



From: ]ake Bychak
Sent: Monday, April 15, 2013 12:47 PM
To: Sasha Treviso; Allison Hall
Cc: AD SD Systems; AD SD Operations
Subject: 196.246.0.0/16 SBL



Hey All,



This range was SBL'd due to gmail mailings. We are working with the provider
to see what we can do to get a refund or remove the SBL.



http://www.spamhaus.org/sbl/query/SBL18161O



Thanks,



Jake Bychak

Senior Operations Manager



ADCONION DIRECT I DIGITAL ADVERTISING SOLUTIONS

Phone: +1 858.202.6447 I Mobile:                   Fax: +1 858.638.1717

9444 waples Street I San Diego, California, 921211 USA

 <mailto:First.last@adconiondirect.com>                                   I
<http://www.adconiondirect.com/> www.adconiondirect.com



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<https://twitter.com/adconion_direct> Twitter I
<http://www.linkedin.com/company/2145393?trk=tyah> Linkedin




No virus found in this message.
Checked by AVG - www.avg.com
Version: 2012.0.2240 / Virus Database: 2641/5746 - Release Date: 04/15/13



No virus found in this message.
Checked by AVG - www.avg.com
Version: 2012.0.2240 / Virus Database: 2641/5746 - Release Date: 04/15/13




                                                                               AMOBEE1020711
Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6270 Page 29 of 31




                     EXHIBIT J
     Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6271 Page 30 of 31
Message
From:            Jake Bychak
Sent:            5/1/2013 5:00:22 PM
To:              Abdul Mohammed
CC:              Mark Manoogian                                 Sasha Treviso
Subject:         RE: 196.193.0.0/16 for Blackstar Gmail (SBL)



Thank you! ! !



Jake Bychak I Director of Operations

Phone: +1 858.202.6447 I Mobile:

 <mai lto:jake.bychakaadconi ondi rect corn>



From: Abdul Mohammed
Sent: Wednesday, May 01, 2013 5:00 PM
To: Jake Bychak
Cc: Mark Manoogian; Sasha Treviso
Subject: RE: 196.193.0.0/16 for Blackstar Gmail (SBL)



Hi Jake,



Here's the login credentials:

Server: 108.174.193.66

Login: root/Temp123

IP Range: 196.193.0.0/17




Server: 108.174.193.67

Login: root/Temp123

IP Range: 196.193.128.0/17




Thanks!



Abdul Mohammed I Technical Operations Manager

Phone: +1 858.202.6405 I Mobile:




From: Jake Bychak
Sent: Wednesday, May 01, 2013 4:54 PM
To: Abdul Mohammed
Cc: Mark Manoogian; Sasha Treviso
Subject: 196.193.0.0/16 for Blackstar Gmail (SBL)




                                                                                AMOBEE1058249
    Case 3:18-cr-04683-GPC Document 403-2 Filed 05/05/22 PageID.6272 Page 31 of 31
Hey Abdul!



would you mind getting the 196.193.0.0/16 range set up for Blackstar? They
are going to mail Gmail on it since it is SBL'd.



Thanks!



Jake Bychak

Director of operations



ADCONION DIRECT I DIGITAL ADVERTISING SOLUTIONS

Phone: +1 858.202.6447 I                          I Fax: +1 858.638.1717

9444 waples street I San Diego, California, 921211 USA

 <mailto:First.last@adconiondirect.com>
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<http://www.linkedin.com/company/2145393?trk=tyah> LinkedIn




                                                                             AMOBEE1058250
